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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

                                              )
UNITED STATES OF AMERICA,                     )
                                              )
                                              )
               v.                             ) Criminal Action No. 23-mj-00274-MN
                                              ) Criminal Action No. 23-cr-00061-MN
ROBERT HUNTER BIDEN,                          )
                                              )
                      Defendant.              )
                                              )


               DEFENDANT’S RESPONSE TO MOTION TO WITHDRAW

       Defendant Robert Hunter Biden, by and through his undersigned counsel, submits this

response to the Motion for Leave to Withdraw as Counsel filed by Christopher J. Clark (D.I. 31,

Case No. 1:23-cr-00061-MN; D.I. 38, Case No. 1:23-mj-00274-MN).

       Mr. Biden consents to Mr. Clark’s withdrawal and agrees that withdrawal will not cause a

substantial hardship to him.

 Dated: August 16, 2023                   Respectfully submitted,

                                          WINSTON & STRAWN LLP

                                          /s/ Abbe David Lowell
                                          Abbe David Lowell
                                          1901 L Street NW
                                          Washington, D.C. 20036
                                          Ph: (202) 282-5000
                                          adlowell@winston.com

                                          BERGER HARRIS LLP

                                          Richard I. G. Jones, Jr. (#3301)
                                          1105 N. Market Street, Suite 1100
                                          Wilmington, Delaware 19801
                                          Ph: (302) 655-1140
                                          rjones@bergerharris.com

                                          Attorneys for Defendant Robert Hunter Biden
